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                              EXHIBIT 2
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 0:20-CV-61872-AHS

   ALAN DERSHOWITZ,

          Plaintiff,

   v.

   CABLE NEWS NETWORK, INC.,

         Defendant.
   ______________________________/

                            DECLARATION OF SUSIE XU
               IN SUPPORT OF CNN’S MOTION FOR SUMMARY JUDGMENT

          I, Susie Xu, declare as follows:

          1.      I am over the age of eighteen, am a resident of New York, New York, and am

   competent to make this declaration. I have personal knowledge of the statements set forth below.

   I submit this declaration in support of the motion by defendant Cable News Network, Inc. (“CNN”)

   for summary judgment in this action (the “Motion”).

          2.      I am currently the executive producer of CNN’s television program Erin Burnett

   OutFront.

          3.      On January 29, 2020, Alan Dershowitz, who was defending former President

   Donald Trump during his first impeachment trial, responded to a question posed by Senator Ted

   Cruz on the floor of the U.S. Senate (the “Response”). As the executive producer of Erin Burnett

   OutFront, I was responsible for the cutting of a clip of Dershowitz’s Response that aired on

   OutFront that evening (the “OutFront Clip”).
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           4.      The OutFront Clip is a verbatim excerpt of footage of Dershowitz’s Response. At

   the time that CNN aired the OutFront Clip, I had no doubt that it was fair and accurate. I believe

   that to this day.

   My Background in Journalism

           5.      I have over 20 years of journalism experience and have produced numerous award-

   winning shows.

           6.      I graduated from Penn State University in 2001 with a degree in communications

   and political science.

           7.      I began working at CNN after I graduated from college. Since that time, I have

   held a number of positions, including as a producer for the shows American Morning, Larry King

   Live, and John King, USA. In 2011, I became a senior broadcast producer for Erin Burnett

   OutFront. In 2014, I was promoted to executive producer of Erin Burnett OutFront.

           8.      As executive producer, I lead the OutFront team and oversee the content of our

   show.

           9.      Erin Burnett OutFront airs nightly from 7 to 8 PM on CNN. OutFront delivers in-

   depth and informative news and analysis. Our show frequently features panel discussions with

   experts and commentators. Our guests offer insightful analysis and opinion on the news of the

   day.

           10.     Erin Burnett OutFront has won numerous awards for breaking news stories and

   excellence in journalism.




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   Conducting the Research

          11.      On January 29, 2020, as part of my job responsibilities at CNN, I watched the

   impeachment proceedings that CNN was airing live from the U.S. Senate. CNN aired the entire

   impeachment trial live.

          12.      As part of our preparation for Erin Burnett OutFront, our team circulates relevant

   research. For example, our team circulates the point of view (or “POV”) of our guests on various

   aspects of a story to help us prepare for the discussion. Our team may talk to the guests to ask

   them for their point of view, or we may research their public statements on an issue. This helps

   us have a sense of what our guests will say before they appear on air.

          13.      At approximately 3:01 PM, one of our producers, Katie Carver, emailed our team

   the point of view of one of our guests that evening, Ryan Goodman (the co-editor-in-chief of Just

   Security, a former special counsel at the Department of Defense, and a professor at NYU School

   of Law). Carver stated that Goodman thought that the “[w]eakest answer” to a question at the trial

   was Dershowitz “claiming as long as the president thinks his or her reelection is in the public

   interest, it’s not impeachable/illegal conduct.”        (A true and correct copy of this email,

   CNN00000067, dated January 29, 2020, 3:01 PM, is attached as Exhibit 61 to the Declaration of

   Katherine M. Bolger in support of the Motion (“Bolger Declaration”). All further references to

   “Exhibit __” in this declaration refer to the numbered exhibits attached to the Bolger Declaration.)

          14.      At approximately 3:15 PM, Carver emailed our team the point of view of another

   guest, Joe Lockhart (a former White House press secretary and CNN political commentator).

   Carver sent us tweets that Lockhart had live-tweeted as Dershowitz delivered his Response,

   including:

               Dershowitz is making a crazy argument. If Trump believes getting another
                country to manufacture dirt on a political opponent and he thinks its [sic] in the



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                public interest for him to be reelected, not his opponent, he can do whatever he
                wants. That’s just a corrupt argument.

               That was the craziest 5 minutes of this whole thing. Dershowitz looks like he’s
                trying throw the case.

               Dershowitz -- cheating in an election is ok as long as the candidate thinks he’s
                a better candidate.

   (A true and correct copy of this email, CNN00000065–66, dated January 29, 2020, 3:15 PM, is

   attached as Exhibit 62. A true and correct copy of the tweets by @joelockhart, dated January 29,

   2020, 2:13 PM – 2:24 PM, is attached as Exhibit 63.)

   The OutFront Clip

          15.      In addition to watching the impeachment proceedings that CNN was airing live, I

   also watched CNN’s analysis of the trial, including analysis by Wolf Blitzer and Jake Tapper.

   During a break in the proceedings, at approximately 3:38 PM, Blitzer noted the “very significant

   point” that Dershowitz “said something that I thought – and a lot of people thought – was pretty

   extraordinary. That if a President of the United States does something that he believes to be in the

   national interest and his own political interests, it’s OK.” Tapper agreed that “this is perhaps the

   most striking thing that has been said all day.” Tapper continued, quoting Dershowitz, “if the

   President does something which he believes will get him elected in the public interest, that cannot

   be the kind of quid pro quo that results in an impeachment.” Tapper stated that this was “really a

   remarkable assertion.” (A true and correct copy of the video and transcript of this telecast is

   attached as Exhibit 64 (at timestamp 38:21) and Exhibit 65 (at pages 3–4).)

          16.      As I viewed the proceedings, the analysis, Dershowitz’s entire Response, and our

   team’s research, I quickly recognized that Dershowitz’s Response was newsworthy and should be

   a topic of discussion on Erin Burnett OutFront that night.




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          17.     I instructed my staff to cut the OutFront Clip, including the portion of Dershowitz’s

   Response that Tapper quoted. The OutFront Clip also included three additional sentences, beyond

   what Tapper quoted, which provided additional context, as follows:

          Every public official that I know believes that his election is in the public interest.
          And mostly you’re right. Your election is in the public interest. And if a president
          did something that he believes will help him get elected, in the public interest, that
          cannot be the kind of quid pro quo that results in impeachment.

          18.     In my editorial judgment, I believed then, and believe now, that the OutFront Clip

   was fair and accurate. In my over 17 years of experience, I have covered all kinds of stories,

   including many legal proceedings and political events, and a regular part of the job is selecting

   video or audio clips of those events for the viewing public.

          19.     I based my conclusion that the OutFront Clip was fair and accurate on the fact that

   it is a verbatim clip of Dershowitz’s Response in which he stated that “if a President does

   something which he believes will help him get elected in the public interest, that cannot be the

   kind of quid pro quo that results in impeachment.” This quoted statement, among other statements,

   was included in the OutFront Clip because it is a key part of Dershowitz’s Response.

          20.     Dershowitz reaffirmed this point at the end of his Response when he stated: “a

   complex middle case is: I want to be elected. I think I am a great President. I think I am the greatest

   President there ever was, and if I am not elected, the national interest will suffer greatly. That

   cannot be [an impeachable offense].” Although the Congressional Record of the proceeding

   incorrectly omitted the words “an impeachable offense,” Dershowitz in fact said those words,

   which were captured on the video of the proceeding that I watched myself. (A true and correct

   copy of the Congressional Record, the relevant portion of which is at pages S650–51, is attached

   as Exhibit 29. A true and correct copy of the video of the proceeding, the relevant portion of

   which is at timestamp 16:26, is attached as Exhibit 30.)



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          21.     In addition, Dershowitz reaffirmed that “to be impeachable,” the president must

   decide to act “solely” on the basis of corrupt motives, and a “mixed motive” that “partially involves

   electoral” interests “cannot be a corrupt motive.”

          22.     The totality of Dershowitz’s Response, and the portions quoted above in particular,

   informed my understanding of his Response as arguing that if a president deemed his reelection to

   be in the public interest, then what he did to obtain that goal would not be impeachable. I arrived

   at that understanding through my own independent judgment.

          23.     My understanding was also informed by the context in which this impeachment

   occurred. The alleged acts underlying the impeachment—the extortion of the President of Ukraine

   by the illegal withholding of congressionally authorized funds, and obstruction of congress—were

   illegal and even criminal in nature.        Indeed, on January 16, 2020, the U.S. Government

   Accountability Office determined that the withholding of these funds was illegal, which was a

   major story that we covered on Erin Burnett OutFront. (A true and correct copy of the U.S.

   Government Accountability Office’s decision, dated January 16, 2020, is attached as Exhibit 33.

   A true and correct copy of the transcript of Erin Burnett OutFront that day is attached as Exhibit

   64 (see pages 7–9).) I also understand that obstructing government investigations, including

   congressional investigations, is a crime. For Dershowitz to argue that President Trump could not

   be impeached for these acts if he was acting in the interest of getting reelected, despite their illegal

   and criminal nature, informed my understanding of Dershowitz’s Response.

          24.     I understand that in this lawsuit Dershowitz contends that the meaning of his

   Response is somehow changed by the following statement: “The only thing that would make a

   quid pro quo unlawful is if the quo were in some way illegal.” Specifically, I understand that he

   contends that this statement somehow qualified his statements about acts in the interest of getting




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   reelected, which he spoke several sentences later, and that the qualification supposedly excluded

   illegal acts from the discussion. For that reason, he thinks we should have included that language.

          25.     In my editorial judgment, I did not understand that sentence in the way that

   Dershowitz contends. In fact, that statement is unclear to me, seems to be a meaningless tautology,

   and certainly has no qualifying language suggesting that it limited the meaning of what he said

   several sentences later or excluded illegal acts from the subsequent sentences.

          26.     My determination that Dershowitz’s Response was newsworthy was confirmed

   when I saw the attention and controversy those statements were already generating in other news

   outlets and on social media. I also observed that other news organizations interpreted Dershowitz’s

   Response in the same way that I did. For example, at approximately 3:44 PM, I received a breaking

   news alert from the New York Times, tagged with high importance, reporting that Dershowitz

   “argued that any action to aid re-election could be considered in the nation’s interest and therefore

   could not be impeachable,” which was an “extraordinarily expansive view of executive power”

   (emphasis added). (A true and correct copy of this email, CNN00000252, dated January 29, 2020,

   3:44 PM, is attached as Exhibit 65.)

   The Lockhart Statement

          27.     At approximately 7 PM that evening, Erin Burnett OutFront aired. (A true and

   correct copy of this episode of Erin Burnett OutFront is attached as Exhibit 66. A true and correct

   copy of the transcript of this episode is attached as Exhibit 67.)

          28.     I believed then, and believe now, that the Lockhart Statement was an expression of

   his opinion. I believed then, and believe now, that the OutFront Clip was fair and accurate.




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